Case 2:02-

Ken L. Schultz
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UNITED STATES DISTRECT COURT

DISTRICT OF NEW JERSEY
x

SHIRE US INC., Case No. 02-2023 (JAP)

Plaintiff,
- against)-

DECLARATION OF

BARR LABORATORIES, INC., BRIAN J. MCCARTHY

Defendant.

following statem

1
defendant Bart ]j
to plaintiff Shire

2
Defendant's First

Signed under Pe

BRIAN J. MCCARTHY hereby declares, under penalty of perjury, that the

ents are true and correct:

I am associated with the firm of Winston & Strawn, the attorneys for

aboratories, Inc. ("Barr") in this action. I submit this declaration in opposition

US Inc.'s ("Shire") Motion for a Preliminary Injunction.

Attached hereto is a true and correct copy of Defendant's Exhibit 1 is

Request for the Production of Documents.

nalties of perjury this 13th day of June, 2002.

A | We’
/ Brian/l. McCarthy

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